Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 1 of 22   PageID.563




KOBAYASHI SUGITA & GODA, LLP
DAVID M. LOUIE                2162
JESSE W. SCHIEL               7995
First Hawaiian Center
999 Bishop Street, Suite 2600
Honolulu, Hawaii 96813
Telephone: (808) 535-5700
Facsimile: (808) 535-5799
E-mail:     dml@ksglaw.com;
            jws@ksglaw.com

Attorneys for Movant
PACMAR TECHNOLOGIES LLC f/k/a
MARTIN DEFENSE GROUP, LLC f/k/a
NAVATEK LLC

               IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,             CR. NO. 21-00061 LEK

           Plaintiff,                 PACMAR TECHNOLOGIES LLC’S
                                      RESPONSE TO OBJECTIONS TO
     vs.                              AND APPEAL FROM DISPOSITIVE
                                      ORDER [DOCUMENT 92] OF
MARTIN KAO,                           MAGISTRATE JUDGE; EXHIBITS A
                                      AND B; CERTIFICATE OF
           Defendant.                 SERVICE
 Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 2 of 22                                        PageID.564


                                       TABLE OF CONTENTS

                                                                                                                Page

I.     Introduction.....................................................................................................1

II.    Relevant Background......................................................................................3
       A.       Factual Background..............................................................................3

       B.       Procedural Background ........................................................................5

III.   Standard of Review.........................................................................................7
IV.    Responses to Specific Objections ...................................................................9

       A.       The Magistrate Judge’s Determination That Defendant Kao
                Does Not Have A Privacy Interest In The Company Cellphone
                Was Not Clearly Erroneous................................................................10
       B.       The Magistrate Judge’s Decision To Issue His Ruling While
                Defendant Kao’s Criminal Case Is Still Pending Was Not
                Clearly Erroneous. ..............................................................................13
       C.       The Magistrate Judge’s Finding That Defendant Kao Had No
                Reasonable Expectation of Privacy In The Company Cellphone
                Was Not Clearly Erroneous................................................................14
       D.       The Company Cellphone Data Is Not Defendant Kao’s Work
                Product................................................................................................15

       E.       The Specific Contents of the Cellphone Data Are Irrelevant To
                PacMar’s Right To The Return Of The Property. ..............................17

       F.       No Alternatives to a Complete Return of PacMar’s Property
                Were Appropriate. ..............................................................................18

V.     Conclusion ....................................................................................................18




                                                         -i-
 Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 3 of 22                                          PageID.565




                                       TABLE OF AUTHORITIES

                                                                                                                Page(s)

Federal Cases
Mintz v. Mark Bartelstein & Associates, Inc.,
  885 F. Supp. 2d 987 (C.D. Cal. 2012) ................................................................11

In re Scranton Housing Authority,
    487 F. Supp. 2d 530 (M.D. Pa. 2007) ...............................................................8, 9

United States v. Collins,
  No. 11-CR-00471-DLJ PSG, 2012 WL 3537814 (N.D. Cal. Mar.
  16, 2012) ...............................................................................................................8

United States v. Wahchumwah,
  710 F.3d 862 (9th Cir. 2013) ..............................................................................11

Federal Statutes
U.S.C. § 636(b)(1)......................................................................................................2
28 U.S.C. § 636 ......................................................................................................7, 9
28 U.S.C. § 636(b)(1)(A) .......................................................................................7, 8
Freedom of Information Act ..........................................................................2, 11, 15

Rules
Crim. L.R. 12.1 ..........................................................................................................7

Crim. L.R. 57.3 ..........................................................................................................7
Crim. L.R. 57.4 ..........................................................................................................7

Fed.R.Crim.P. Rule 41(g) ............................................................................1, 3, 6, 15




                                                             1
    Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 4 of 22       PageID.566




     PACMAR TECHNOLOGIES LLC’S RESPONSE TO OBJECTIONS
     TO AND APPEAL FROM DISPOSITIVE ORDER [DOCUMENT 92]
                    OF MAGISTRATE JUDGE
         Movant PACMAR TECHNOLOGIES LLC f/k/a MARTIN DEFENSE

GROUP, LLC f/k/a NAVATEK LLC (“PacMar” or the “Company”) hereby

submits its Response to Defendant MARTIN KAO (“Defendant Kao”)’s

Objections to and Appeal from Dispositive Order [Document 92] of Magistrate

Judge (“Objections”).

I.       INTRODUCTION
         Defendant Kao’s Objections to Magistrate Judge Trader’s Order Granting

PacMar’s Motion for Return of Property Pursuant to Rule 41(g) of the Federal Rules

of Criminal Procedure (the “Order”) merely restate the same arguments raised

before and rejected by Judge Trader.

         PacMar’s request is simple: a return of its Company Cellphone and/or

Cellphone Data1 following the Department of Justice (“DOJ”)’s seizure of the

Company Cellphone during its investigation into criminal activities perpetrated by

Defendant Kao during his employment with PacMar. The DOJ, who remains in


1
  The property at issue is an Apple iPhone 11 Pro (IMEI 353247100759018),
associated with the phone number ending in 0371 (the “Company Cellphone”)
and/or the data stored therein (the “Cellphone Data”). The DOJ has stated that it
does not object to the return of a full copy of the contents of the Company Cellphone,
but that it does intend to retain the physical device. See Factual Background, infra
§ II.B.

                                          1
    Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 5 of 22       PageID.567




possession of the Company Cellphone, has confirmed that it has no objection to

returning the Cellphone Data to PacMar. The DOJ similarly returned PacMar’s

servers to it following its investigation into Defendant Kao’s criminal conduct.

         Defendant Kao has objected to the return of PacMar’s property based on a

non-existent asserted right to privacy in the data stored on the Company Cellphone,

claims which have been proven to be meritless by PacMar’s presentation of the

applicable policies and conditions which governed Defendant Kao’s use of the

Company Cellphone at all times that it was in his possession. Defendant Kao

similarly attempts to mischaracterize PacMar’s request for the return of the

Company Cellphone as a government search for which a warrant would be

required—which it is not—and alternatively a request to the DOJ under the Freedom

of Information Act—which it also is not.

         For the foregoing reasons, as discussed more fully below, PacMar respectfully

requests that this Court affirm Judge Trader’s Order.2




2
  As discussed below, PacMar submits that this Court should review Defendant
Kao’s Objections under a clearly erroneous standard, as is proper under 28, U.S.C.
§ 636(b)(1). However, Defendant Kao’s Objections fail under either a clearly
erroneous or de novo standard of review.

                                           2
    Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 6 of 22     PageID.568




II.      RELEVANT BACKGROUND

         A.   Factual Background3
         Commencing in 2008, and continuing through his tenure as President and

CEO, PacMar issued a company cellphone Defendant Kao, for use in PacMar’s

business operations. Defendant Kao’s receipt and use of the company cellphone was

subject to PacMar’s company cellphone policies. See Exhibit 1 to Motion at C-22,

¶ 6 (“If an employee is issued a company cell phone, this may not be used for

personal phone calls unless authorized by the Company prior to usage. All rules

from this policy applies to company issued cell phones.” (emphasis added)); see

also id. at C-23, § I (“Computers, computer files, electronic communication

systems, internet access, and software furnished to employees are Company

property intended to be used solely for business purposes . . . . All work done with

Company resources will be owned by the Company or will be deemed assigned

to the Company.” (emphasis added)); Motion at Declaration of James Toshizo Ota

(“Ota Decl.”) ¶ 3. The handbook further provides that “although incidental and



3
  Because Defendant Kao raises no arguments that were not presented to Judge
Trader—as well as fully briefed and argued—PacMar includes its Motion for Return
of Property Pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure (the
“Motion”) and Reply in support of the Motion (the “Reply”) here as Exhibits A and
B for convenience of reference. References to Exhibits herein are made to the
attachments and declarations previously provided with the Motion and Reply.
Additional historical factual background regarding PacMar is provided in the Motion
but is not repeated here for sake of efficiency.

                                         3
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 7 of 22        PageID.569




occasional personal use of e-mail is permitted by the Company,” the Company may

access and disclose personal emails. Exhibit 1 to Motion at C-23, § III. Defendant

Kao acknowledged his receipt and understanding of these policies.              See

Acknowledgement of Employee Handbook, attached as Exhibit 2 to Motion.

       From and after 2018, as President and CEO of PacMar, Defendant Kao was

responsible for oversight of all of PacMar’s business operations, including review

and supervision of the development of its products and technologies,

communications with external parties in obtaining its contracts and subcontracts,

review and oversight of internal processes and procedures related to its employees

and management, and various other duties typical of a President and CEO of a

federal contractor. PacMar continued to supply Defendant Kao with the use of a

company-owned cellphone, subject to the same ongoing policies and conditions of

use.   See Exhibit 3 to Motion, at § 4.1(a) (“Martin Defense Group sensitive

information stored on electronic and computing devices whether owned or leased by

Martin Defense Group, a User, or a third party, remains the sole property of Martin

Defense Group.”); Exhibit 4 to Motion (“At any time upon request by Company

management, the employee shall produce the mobile device for return or

inspection.” (emphasis added)).

       Specifically, on or around January 2020, Defendant Kao was issued the

subject Company Cellphone. Defendant Kao’s Company Cellphone was registered


                                        4
    Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 8 of 22    PageID.570




to a Company business account assigned to Defendant Kao, and was bought and paid

for by PacMar (then Navatek LLC). See, e.g., Exhibit 5 to Motion (addressed to

Navatek LLC and showing “Device Payment Agreement” charges of $1149.99 at

page 2); Ota Decl. ¶ 2.

         In late 2020, around the time the DOJ arrested Defendant Kao, it seized

various property, including certain Company property, 4 potentially relevant to

Defendant Kao’s crimes in the instant case. Among the items seized was Defendant

Kao’s Company Cellphone.

         B.    Procedural Background
         By letter dated December 21, 2022, PacMar, by and through its undersigned

counsel, requested that the DOJ return the Cellphone and/or the Cellphone Data,

attached as Exhibit 6 to Motion.

         On December 29, 2022, Mr. Nolan, on behalf of the DOJ, responded by email

correspondence to the undersigned and Mr. Victor Bakke, counsel for Defendant

Kao, advising Mr. Bakke of the DOJ’s intention to turn over the requested Cellphone

Data to PacMar if no objection was made by 5:00 p.m. on Friday, January 6, 2023.

See E-mail from C. Nolan, dated Jan. 6, 2023, attached as Exhibit 7 to Motion.

         On Thursday, January 5, 2023, Mr. Bakke informed Mr. Nolan that Defendant



4
  The DOJ returned most of the Company assets seized, including the Company's
servers, shortly after they were downloaded.

                                         5
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 9 of 22           PageID.571




Kao objected to the DOJ’s release of the Cellphone or the Cellphone Data to PacMar,

but did not explain on what basis the objection was made. See E-mail from V.

Bakke, dated Jan. 5, 2023, attached as Exhibit 8 to Motion.

      By reply email on January 6, 2023, Mr. Nolan suggested to both counsel that

the parties get the issue before the Court through a FRCP Rule 41(g) motion, and

that the government would take no position (other than opposing any request to

return the actual Cellphone). See E-mail from C. Nolan, dated Jan. 6, 2023, attached

as Exhibit 9 to Motion. PacMar confirmed that it has no objection to the DOJ’s

return of the Cellphone Data in lieu of the return of the physical Company Cellphone.

See Motion at 6.

      Following the above-described correspondence between the Parties, PacMar

filed its Motion for Return of Property on January 25, 2023. On February 14, 2023,

following full briefing of the issue by the Parties, Magistrate Judge Trader issued an

Order Granting the Motion, holding:

             2. The Court adopts the arguments and authorities relied
             upon by PacMar and finds that the cellular phone
             previously issued by PacMar to Defendant Kao during his
             employment with Pacmar, Apple iPhone 11 Pro (IMEI
             353247100759018) (the “Company Cellphone”), and all
             of the business and personal data stored therein
             (hereinafter the “Cellphone Data”), are the property of
             PacMar pursuant to PacMar’s policies which were
             acknowledged by Defendant Kao and that Defendant Kao
             has no reasonable expectation of privacy with respect to
             the Cellphone Data.


                                          6
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 10 of 22           PageID.572




             3. Having found that PacMar is the owner of the Company
             Cellphone and Cellphone Data, the Court further finds that
             PacMar has met the requirements under Rule 41(g) of the
             Federal Rules of Criminal Procedure for the return of its
             property and is therefore entitled to the Government’s
             return of the Cellphone Data under Rule 41(g);
             4. Pursuant to the representations made in the
             Government’s Response, the Government shall retain the
             Company Cellphone, and a copy of the entirety of the
             Cellphone Data shall be returned to PacMar within thirty
             (30) days . . . .

Order at 2–3.

III.   STANDARD OF REVIEW
       Under this District’s Criminal Local Rules:

             Dispositive motions shall be heard by a district judge and
             non-dispositive matters shall be heard by a magistrate
             judge, except as otherwise provided or unless otherwise
             ordered by a district judge.
CrimLR12.1 (emphasis added).         The Local Rules do not explicitly define

“dispositive” vs. “non-dispositive” matters. However, Criminal Local Rules 57.3

and 57.4 cite to the enabling statute for Magistrate Judge authorities and powers, 28

U.S.C. Section 636. 28 U.S.C. Section 636(b)(1)(A) sets forth the types of motions

that are considered “dispositive”:

             (A) a judge may designate a magistrate judge to hear and
             determine any pretrial matter pending before the court,
             except a motion for injunctive relief, for judgment on
             the pleadings, for summary judgment, to dismiss or
             quash an indictment or information made by the
             defendant, to suppress evidence in a criminal case, to
             dismiss or to permit maintenance of a class action, to

                                         7
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 11 of 22           PageID.573




             dismiss for failure to state a claim upon which relief
             can be granted, and to involuntarily dismiss an action.
             A judge of the court may reconsider any pretrial matter
             under this subparagraph (A) where it has been shown that
             the magistrate judge’s order is clearly erroneous or
             contrary to law.

28 U.S.C. § 636(b)(1)(A) (emphasis added). All other matters are considered under

a clearly erroneous standard by a reviewing District Court Judge. See id. The

Motion does not fall within the delineated categories of “dispositive” motions under

the statute, and therefore is reviewed under the clearly erroneous standard.

      Defendant Kao, on the other hand, asserts that the Motion should be

considered as a dispositive motion. Objections at 6–8. Defendant Kao cites two

cases in support of this assertion, United States v. Collins, No. 11-CR-00471-DLJ

PSG, 2012 WL 3537814 (N.D. Cal. Mar. 16, 2012), and In re Scranton Housing

Authority, 487 F. Supp. 2d 530, 534 (M.D. Pa. 2007). Neither is apposite on this

Court’s proper standard of review.

      In Collins, movants sought both the return of seized property and the

suppression of evidence, one of the specifically enumerated categories of

“dispositive” motions under 28 U.S.C. § 636(b)(1)(A). See Collins, 2012 WL

3537814, at *6 (“In arguing for the separation and production of data and return of

their non-targeted data and devices, the defendants principally rely on (1) statements

made by Judge Jensen at a November 1, 2011 status conference observing that the

government may only keep targeted data in its possession and (2) language in the


                                          8
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 12 of 22          PageID.574




warrants themselves that compels the return, deletion of [sic] destruction of any

data outside the scope of the warrant unless otherwise provided by law.”

(emphasis added)). In In re Scranton Housing Authority, the movant similarly

sought to suppress evidence by return of seized property without allowing the United

States to retain any of the seized property and specifically prayed for “Unsealing of

Affidavit of Probable Cause in Support of Search Warrant, and for Return of

Property and Information Seized.” In re Scranton Hous. Auth., 487 F. Supp. 2d at

532. The Scranton opinion specifically held that 28 U.S.C § 636 “does not provide

for the referral of [movant’s] entire action.” Id at 535 (emphasis added).

      Conversely, the Motion at issue here would not dispose of any or all of the

issues in the instant criminal case. Nor does the Motion seek in any way to suppress

evidence in the possession of the DOJ. As stated previously, PacMar takes no

position on the DOJ retaining a copy of any data extracted from Defendant Kao’s

Company Cellphone. It merely seeks the return of its property under the applicable

procedural process.

IV.   RESPONSES TO SPECIFIC OBJECTIONS
      Whether the Court considers Defendant Kao’s objections under a clearly

erroneous or de novo standard of review, the outcome is the same: PacMar is seeking

the return of its property, to which Defendant Kao has no colorable claim of any

right of privacy, as demonstrated by the exhibits and discussion in PacMar’s Motion



                                         9
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 13 of 22         PageID.575




and Reply, and the Court should affirm the return of the Cellphone Data to PacMar.

Defendant Kao’s specific objections are addressed here, using headings similar to

those from the Objections for clarity of reference.

      A.     The Magistrate Judge’s Determination That Defendant Kao Does
             Not Have A Privacy Interest In The Company Cellphone Was Not
             Clearly Erroneous.
      Defendant Kao complains that “while the U.S. has the contents of the phone,

the U.S. does not necessarily know how Mr. Kao got the phone, whether he had any

other phones, the extent of Mr. Kao’s control over MDG and its policies, Mr. Kao’s

state of mind when he was using the phone, and other matters relevant to the issue

of [sic] whether Mr. Kao had a reasonable expectation of privacy.” Objections at 9.

      What the DOJ knows or does not know about the history of Defendant Kao’s

use of the Company Cellphone is irrelevant. It is undisputed that Defendant Kao

was issued the Company Cellphone by PacMar, and PacMar bought and paid for

both the Company Cellphone and the associated fees to Verizon. See Exhibit 5 to

Motion.

      Defendant Kao has no privacy interest in the Company Cellphone, as it was

at all times subject to PacMar’s Information System Security Policies and

Procedures Manual and Employee Mobile Device Policy. See Exhibits 1, 3 and 4

to Motion. Under these policies, PacMar retained a right to “monitor equipment,

systems, and network traffic at any time . . . .” Exhibit 3 to Motion at 8; see also



                                         10
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 14 of 22         PageID.576




Exhibit 1 to Motion at C-23 § I (“Computers, computer files, electronic

communication systems, internet access, and software furnished to employees are

Company property intended to be used solely for business purposes . . . . All work

done with Company resources will be owned by the Company or will be deemed

assigned to the Company.” (emphasis added)). PacMar had, at all times, a right to

monitor and inspect such data to ensure proper use of the cellphone in furtherance

of its business operations and security policies.5 Accord City of Ontario, Cal. v.

Quon, 560 U.S. 746 (2010) (“Even if he could assume some level of privacy would

inhere in his messages, it would not have been reasonable for [the employee] to

conclude that his messages were in all circumstances immune from scrutiny.”);

Mintz v. Mark Bartelstein & Associates, Inc., 885 F. Supp. 2d 987, 1000 (C.D. Cal.

2012) (explaining “the Supreme Court found [in Quon] that the employee ‘had only

a limited expectation’ of privacy in the text messages” but not in the other data

associated with an employer-owned cellphone).6



5
 PacMar, as a federal contractor, is in fact under a heightened duty to maintain the
security of its information and equipment, beyond that of a typical private-sector
employer. See Reply at Declaration of James Toshizo Ota (“Ota Supp. Decl.”) ¶ 6.
6
  Defendant Kao also suggests that his relinquishment of the cellphone to the DOJ
was voluntary, see Defendant Kao’s Mem. in Opp. to Motion (the “MIO”) at 13 (“It
is believed Mr. Kao cooperated with the US.”), further eroding any claims of an
expectation of privacy in the cellphone and its data. See United States v.
Wahchumwah, 710 F.3d 862, 867 (9th Cir. 2013) (“[A] defendant generally has no
privacy interest in that which he voluntarily reveals to a government agent.”).

                                        11
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 15 of 22             PageID.577




      Defendant Kao also attempts to revive his baseless argument that because the

Company Cellphone was in his possession, he should be treated as its owner.

Defendant Kao goes so far as to ask, “Who at the company at the time Mr. Kao was

CEO and owner would have asked Mr. Kao for personal information on his phone?”

Objections at 10. These arguments are misguided, as explained in PacMar’s Reply:

             PacMar’s communications with the DOJ, the DOJ’s
             Response to this Motion [Dkt. No. 84], and the prior
             conduct of the DOJ in returning PacMar’s other property
             seized at the time of Defendant Kao’s arrest all belie these
             claims. See, e.g., Exhibit 9 to Motion (suggesting that
             PacMar file a motion for return of property in order to
             recover the data in question). Just as the DOJ returned
             PacMar’s servers to it following the arrest of Defendant
             Kao, see Supplemental Declaration of James Toshizo Ota
             (“Ota Supp. Decl.”) ¶ 5, which server included all of its
             employees’ data and correspondences stored on it, so now
             is PacMar simply seeking the DOJ’s return of its Company
             Cellphone.7 PacMar’s servers and company cellphones
             are both company property and, as it did with PacMar’s
             server, the DOJ is prepared to return the Company
             Cellphone data to PacMar. 8




7
  PacMar would be entitled to the return of the physical cellphone and all of its
contents if not for the DOJ’s stated position that the cellphone is being kept for use
as evidence in further potential criminal matters.
8
  PacMar’s policies treat all company-issued equipment, including computers,
servers, accounts, and cellphones in the same way. See Exhibit 3 to Motion at 7
(“Martin Defense Group sensitive information stored on electronic and computing
devices whether owned or leased by Martin Defense Group, a User, or a third party,
remains the sole property of Martin Defense Group.”).

                                         12
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 16 of 22           PageID.578




Reply at 4. If Defendant Kao was using the Company Cellphone for personal use,

such use was at his own risk and subject to the Company’s policies just the same as

any non-business use by Defendant Kao on the Company’s server. Defendant Kao

cannot credibly argue that he was unaware of the right for PacMar to inspect the

Company Cellphone at all times, as the principal executive officer of the Company,

in charge of supervising and overseeing the development, implementation of, and

compliance with said policies. See Ota Supp. Decl. ¶ 7. Defendant Kao had no right

to privacy in the device, as the Magistrate Judge correctly found, and his election to

use the Company Cellphone for unapproved or personal uses was at his own risk.

      B.     The Magistrate Judge’s Decision To Issue His Ruling While
             Defendant Kao’s Criminal Case Is Still Pending Was Not Clearly
             Erroneous.
      Defendant Kao’s objection regarding the asserted premature timing of the

Magistrate Judge’s ruling is without merit. Defendant Kao has already pled guilty

to the charges in the instant case, and his testimony is not required for the return of

the Company Cellphone. Since Defendant Kao had no right to privacy in the data

on the Company Cellphone, any testimony he may believe he is precluded from

giving is irrelevant. If the Company Cellphone had not been seized by the DOJ,

PacMar still would have been entitled to recover the Company Cellphone in its

entirety, including all data stored therein, directly from Defendant Kao. Further, as

previously explained, PacMar had a right to inspect the Company Cellphone at all



                                          13
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 17 of 22          PageID.579




times that it was in Defendant Kao’s possession. Thus, there is no threat that the

return of the Company Cellphone could implicate any of Defendant Kao’s rights,

Fifth Amendment-based or otherwise.

      C.     The Magistrate Judge’s Finding That Defendant Kao Had No
             Reasonable Expectation of Privacy In The Company Cellphone
             Was Not Clearly Erroneous.
      Just as he did in his Memorandum in Opposition to the Motion, Defendant

Kao extracts quotes from documents provided as evidence of the terms and

conditions of the use of the Company Cellphone by PacMar. However, just as he

did previously, Defendant Kao omits the relevant portions of the Company’s

policies. PacMar’s stated policies clearly set forth that the Company Cellphone was

subject to PacMar’s right to “monitor equipment, systems, and network traffic at any

time . . . .” Exhibit 3 to Motion at 8.

      Defendant Kao similarly raises alleged issues with the dates on certain

evidentiary documents. However, conspicuously absent from Defendant Kao’s

Objections are any claim that he was not aware of the policies, and certainly not any

such claims from 2018 to 2020, when Defendant Kao served as the President and

CEO of PacMar, a role which included supervising and overseeing the development,

implementation of, and compliance with said policies. See Ota Supp. Decl. ¶ 7.




                                          14
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 18 of 22         PageID.580




      D.    The Company Cellphone Data Is Not Defendant Kao’s Work
            Product.
      Defendant Kao again raises inapplicable standards of law to liken the request

by PacMar for the return of its property to a government search. PacMar is not a

government entity, and is not bound by the restrictions placed on governmental

entities in conducting a search and/or seizure of property, despite Defendant Kao’s

misplaced attempts to foist such burdens on PacMar. Nor is PacMar requesting any

“government workproduct.” Objections at 13.

      Likewise, PacMar’s request for the return of its own property is not akin to a

FOIA request as Defendant Kao argues.             Contrary to Defendant Kao’s

mischaracterizations, PacMar is only seeking the return of its own property insofar

as the data stored on the Company Cellphone is PacMar’s property and was, at all

times, subject to PacMar’s monitoring, inspection, and requests for return. See

Exhibit 3 to Motion at 8 (“For security and network maintenance purposes,

Designated IT Personnel will monitor equipment, systems, and network traffic

at any time, per Martin Defense Group’s Monitoring and Systems/Communications

Protection Policy.” (emphasis added)); Exhibit 4 to Motion (“At any time upon

request by Company management, the employee shall produce the mobile device

for return or inspection.” (emphasis added)).

      Defendant Kao further argues that PacMar’s suggestion that the data be turned

over via a Cellebrite report somehow converts the data from PacMar’s property into


                                        15
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 19 of 22           PageID.581




the “workproduct” that is “part of a continuing investigation and/or criminal action.”

Objections at 14. Again, despite Defendant Kao’s mischaracterization of PacMar’s

request for return of property (as is proper under Rule 41(g), see Motion at 6–7

(citing United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1172 (9th

Cir. 2010), overruled on other grounds in Demaree v. Pederson, 887 F.3d 870 (9th

Cir. 2018) (per curiam)), the data itself is PacMar’s property, and not the product of

the DOJ’s investigation into Defendant Kao’s criminal conduct.

      Defendant Kao claims that a Cellebrite report is somehow more inclusive of

data and information stored on the Company Cellphone than the device itself. This

argument is nonsensical. Indeed, if the Company Cellphone had not been seized by

the DOJ, PacMar would have had the opportunity and the right to recover the

physical device, as well as to use any number of methods to recover any and all data

stored therein.   The reference to a Cellebrite report was made only on the

understanding that the data is portable in that form for return to PacMar by the DOJ,

which has stated its intention to keep the physical device.

      Defendant Kao’s attempts to cast the Motion as a “wide-net search for

information” are similarly baseless and mere conjecture. As explained in the

Motion, as the then-President and CEO of PacMar at the time of his arrest, Defendant

Kao had access to critical business and proprietary information through his

Company Cellphone. See Motion at 9–10.


                                         16
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 20 of 22           PageID.582




      E.     The Specific Contents of the Cellphone Data Are Irrelevant To
             PacMar’s Right To The Return Of The Property.
      Defendant Kao correctly identifies the reasoning supporting Judge Trader’s

Order: “Mr. Kao had no reasonable expectation of privacy as to any of the data.”

Objections at 18. He claims that Judge Trader could not have made such a finding

“without knowing the types of personal files that were on the phone.” Defendant

Kao again misses the point: he has no right to privacy because the Company

Cellphone and Cellphone Data are PacMar’s property, and PacMar had a right to

access the Cellphone Data at any time. See Discussion, supra § IV.A.

      Defendant Kao’s argument only further reinforces Judge Trader’s sound

reasoning and correct ruling: if Defendant Kao used the device for personal and/or

non-work related reasons, he did so with the knowledge that he did not have any

right to privacy when using the Company Cellphone. The contents of a device do

not give rise to any expectation of privacy, just as conducting criminal activity in an

alley does not give rise to an expectation of privacy in that location. Even if the

contents are something that Defendant Kao wanted to keep private, it is the method

and circumstance of the instrumentality that are relevant to the analysis. In other

words, even though Defendant Kao’s Company Cellphone may contain information

that he does not want to be revealed, it was his knowledge that he was using a

Company-owned and controlled device that renders his claims of privacy invalid.




                                          17
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 21 of 22           PageID.583




      F.     No Alternatives to a Complete Return of PacMar’s Property Were
             Appropriate.
      Defendant Kao’s final objection asserts that less drastic options to the DOJ’s

return of the Cellphone Data to PacMar were appropriate. Again, Defendant Kao

misses the point, as it’s premised on the incorrect belief that he possessed a privacy

interest in the Cellphone Data.. As stated in Magistrate Judge Trader’s Order and

discussed at length in prior briefs and herein, “[The Company Cellphone] and all of

the business and personal data stored therein . . . , are the property of PacMar

pursuant to PacMar’s policies which were acknowledged by Defendant Kao and that

Defendant Kao has no reasonable expectation of privacy with respect to the

Cellphone Data.” Order at 2; see also Discussion, supra §§ IV.A and C.

      Thus, all of the data which Defendant Kao claims should be “segregated” or

reviewed by a special master, being the exclusive business property of PacMar, is

not subject to segregation or further review. Ordering the return of PacMar’s

property is not a “drastic” measure by any means, it is simply the logical next step

for the DOJ which has stated it is willing and able to return a copy of the Cellphone

Data without delay.

V.    CONCLUSION
      For the foregoing reasons, and any further adduced at the hearing on this

matter, PacMar respectfully requests that the Court deny Defendant Kao’s




                                         18
Case 1:21-cr-00061-LEK Document 95 Filed 03/23/23 Page 22 of 22        PageID.584




Objections and affirm the Magistrate Judge’s Order to return the data stored on the

Company Cellphone to PacMar.

      DATED: Honolulu, Hawaii, March 23, 2023.

                                      /s/ Jesse W. Schiel
                                      DAVID M. LOUIE
                                      JESSE W. SCHIEL

                                      Attorneys for Movant
                                      PACMAR TECHNOLOGIES LLC
                                      f/k/a MARTIN DEFENSE GROUP,
                                      LLC f/k/a NAVATEK LLC




                                        19
